          Case 3:11-cr-03819-BEN                            Document 54                   Filed 03/07/12                   PageID.316               Page 1 of 4


     'It.AO 245B (CASD) (Rev. 12111) Judgment in a Criminal Case
                 Sheet I



                                                 UNITED STATES DISTRICT COURT                                                             12 HAR - 7 PHI2; I j
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                                                                                                                                                             'ri nv
                                                      SOUTHERN DISTRICT OF CALIFORNIA                                                       li~~~t:isl';";C;' O!-C\Llf~~rNI!,
                       UNITED STATES OF AMERICA                                           JUDGMENT IN A CRIMINAL CASE
                                           V.                                             (For Offenses Committed On or Aftel!iNovember I, 19w.,u                             OEPUT Y

                       PATRICIA OLAIZ-MURILLO (I)                                         Case Number: llCR3819-BEN
                                                                                          BRIDGET KENNEDY, FEDERAL DEFENDERS, INC.
                                                                                          Defendant's Attorney
     REGISTRATION NO. 27973298
     D
     THE DEFENDANT:
     181 pleaded guilty to count(s) . .:,1. :0:..:,F. .,;TH:..:.=E:..:IN::..;.:,.F.:.O.:.,:RM:.. . :. A:..:.T. :. IO:.. N. .,;._ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
     D     was found guilty on count(s)_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
           after a plea of not guilty.
           Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                                                      Count
    Title & Section                             Nature or Orrense                                                                                    Number(s)
21 USC 841(a)(I)                         POSSESSION OF METHAMPHETAMINE WITH INTENT TO DISTRIBUTE                                                             I
AND 18 USC 2                             AND AIDING AND ABETTING




        The defendant is sentenced as provided in pages 2 through                     4          ofthis judgment. The sentence is imposed pursuant
 to the Sentencing Refonn Act of 1984.
 D The defendant has been found not guilty on count(s)
 o    Count(s)
                                                                ----------------------------------
                                                                          0                is           aceD dismissed on the motion of the United States.
 181 Assessment: $100.00 through the Inmate Financial Responsibility Program (IFRP) at the rate of $25.00 per quarter during the period of
      incarceration.


 181 Fine waived                                       0   Forfeiture pursuant to order filed                                   , included herein.
       IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days ofany change ofname, residence,
 or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
 derendant shall notify the court and United States Attorney of any material change in the de dant's economic circumstances.




                                                                                                'l"w:;..........-,   BENITEZ
                                                                                   UNITED STATES DISTRICT JUDGE
                                                                                                                                                           lICR3819-BEN
     Case 3:11-cr-03819-BEN                        Document 54             Filed 03/07/12     PageID.317            Page 2 of 4


AO 245B (CASD) (Rev. 12111) Judgment in a Criminal Case
           Sheet 2 -Imprisonment

                                                                                             Judgment - Page ~ of        _......;4_ _
 DEFENDANT: PATRICIA OLAIZ-MURILLO (1)
 CASE NUMBER: llCR3819-BEN
                                                           IMPRISONMENT
         The defendant is hereby committed to the custody ofthe United States Bureau of Prisons to be imprisoned for a tenn of
         THIRTY -SIX (36) MONTHS.




    o    Sentence imposed pursuant to Title 8 USC Section 1326(b).
    181 The court makes the following recommendations to the Bureau ofPrisons:
         DEFENDANT BE ALLOWED TO PARTICIPATE IN THE SOO·HOUR DRUG TREATMENT PROGRAM.




    o    The defendant is remanded to the custody of the United States Marshal.

     o The defendant shall surrender to the United States Marshal for this district:
           Oat                                     Dam.      Op.m.         on _ _ _ _ _ _ _ _ _ __

               as notified by the United States Marshal.

    o    The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
          o    before
                        --------------------------------------------------------------------
          o    as notified by the United States Marshal.
          o    as notified by the Probation or Pretrial Services Office.



                                                                RETURN
 I have executed this judgment as follows:

         Defendant delivered on       ____________________________ to

 at ____________________ , with a certified copy of this judgment.


                                                                                            UNITED STATES MARSHAL


                                                                      By __________~~~~~~~~~~----------
                                                                                       DEPUTY UNITED STATES MARSHAL




                                                                                                                     llCR3819-BEN
       Case 3:11-cr-03819-BEN                       Document 54                Filed 03/07/12             PageID.318              Page 3 of 4


AO 2458 (CASD) (Rev. 12111) Judgment in a Criminal Case
           Sheet 3 - Supervised Release
                                                                                                              Judgment-Page _ _
                                                                                                                              3 _ of _ _4'--__
DEFENDANT: PATRICIA OLAIZ-MURILLO (1)                                                                 D
CASE NUMBER: 11CR3819-BEN
                                                          SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
FIVE (5) YEARS.

         The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from
the custody of the Bureau of Pflsons.
The defendant shall not commit another federal, state or local crime.
For offenses committed on or after September 13, 1994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than 4 drug tests per month during
the term of supervision, unless otherwise ordered by court.                                          -­

D The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
       future substance abuse. (Check, if applicable.)
       The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
       The defendant shall cooperate in the collection of a DNA sample from the defendant, pursuant to section 3 ofthe DNA Analysis
       Backlog Elimination Act of2000,.pursuant to 18 USC sections 3563(a)(7) and 3583(d).
       The defendant shall comply with Hie requirements ofthe Sex Offender'Registration ana Notification Act (42 U.S.C. § 16901, et seq.) as directed
       by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides, works, is a student, or
       was convicted of a qualifying offense. (Check if applicable.)
D The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
          If this judgment imposes a fine or restitution obligation, it is a condition of supervised release that the defendant pay any such fme
or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the Schedule of Payments set
forth in this judgment.
        The defendant must comply with the standard conditions that have been adopted by this court. The defendant shall also com ply with
any special conditions imposed.

                                        ST ANDARD CONDITIONS OF SUPERVISION
  1)     the defendant shan not leave the judicial district without the permission of the court or probation officer;
  2)     the defendant shaH report to the probation officer in a manner and frequency directed by the court or probation officer;
  3)     the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)     the defendant shall support his or her dependents and meet other family responsibilities;
  5)     the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
         acceptable reasons;
  6)     the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)     the defendant shaIl refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
         controHed substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)     the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)     the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
         a felony, unless granted permission to do so by the probation officer;
 10)     the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
         contraband observed in plain view of the probation officer;
 11)     the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
 12)     the defendant shaIl not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
         permission of the court; and
 13)     as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
         record or ~ersonal history or chamcteristics and shall permit the probation officer to make such notifications and to confirm the
         defendant s compliance with such notification requirement.

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           Case 3:11-cr-03819-BEN                       Document 54         Filed 03/07/12              PageID.319         Page 4 of 4


       AO 24SB (CASD) (Rev. 12111 Judgment in a Criminal Case
                  Sheet 4 Special Conditions
                                                                                                         Judgment-Page --i.- of _ _4;:..._ _
       DEFENDANT: PATRICIA OLAIZ-MURILLO (1)                                                       II
       CASE NUMBER: llCR3819-BEN




                                             SPECIAL CONDITIONS OF SUPERVISION
~ Submit person, residence, office or vehicle to a search, conducted by a United States Probation Officer at a reasonable time and in a
    reasonable manner, based upon reasonable suspicion of contraband or evidence of a violation of a condition of release; failure to submit to a
    search may be grounds for revocation; the defendant shall warn any other residents that the premises may be subject to searches pursuant to
    this condition.
o officer
  If deported, excluded, or allowed to voluntarily return to country of origin. not reenter the United States illegally and report to the probation
          within 24 hours of any reentry to the United States; supervision waived upon deportation, exclusion or voluntary departure.
o   Not transport, harbor, or assist undocumented aliens.
o Not associate with undocumented aliens or alien smugglers.
o Not reenter the United States illegally.
o   Not enter or reside in the Republic of Mexico without written permission of the Court or probation officer.
~   Report all vehicles owned or operated, or in which you have an interest, to the probation officer.
o Not possess any narcotic drug or controlled substance without a lawful medical prescription.
~ Not associate with known users of, smugglers of, or dealers in narcotics, controlled substances, or dangerous drugs in any form.

o Participate in a program of mental health treatment as directed by the probation officer, take all medications as prescribed by a
  psychiatrist/physician, and not discontinue any medication without permission. The Court authorizes the release of the presentence report
    and available psychological evaluations to the mental health provider, as approved by the probation officer. Allow for reciprocal release of
    information between the probation officer and the treatment provider. May be required to contribute to the costs of services rendered in an
    amount to be determined by the probation officer, based on the defendant's ability to pay.
o Take  no medication containing a controlled substance without valid medical prescription, and provide proof of prescription to the probation
  officer, if directed.
o   Provide complete disclosure of personal and business financial records to the probation officer as requested.
o   Be prohibited from opening checking accounts or incurring new credit charges or opening additional lines of credit without approval of the
    probation officer.
~ Complete a residential drug treatment program as directed by the probation officer.
o   Resolve all outstanding warrants within               days.
o   Complete           hours of community service in a program approved by the probation officer within
o   Reside in a Residential Reentry Center (RRC) as directed by the probation officer for a period of

~ Participate in a program of drug or alcohol abuse treatment, including urinalysis or sweat patch testing and counseling, as directed by the
    probation officer. Allow for reciprocal release of information between the probation officer and the treatment provider. Is required to
    contribute to the costs of services rendered in an amount to be determined by the probation officer, based on the defendant's ability to pay.




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